
82 So.3d 193 (2012)
Melissa McEATHRON, Petitioner,
v.
STATE of Florida, Respondent.
No. 1D11-4735.
District Court of Appeal of Florida, First District.
March 14, 2012.
Melissa McEathron, pro se, Petitioner.
Pamela Jo Bondi, Attorney General, Tallahassee, for Respondent.
*194 PER CURIAM.
Petitioner is granted a belated appeal of the judgments and sentences in Duval County Circuit Court case numbers 16-2009-CF-008114-AXXX-MA and 16-2009-CF-008115-AXXX-MA. Upon issuance of mandate in this cause, a copy of this opinion shall be provided to the clerk of the circuit court for treatment as the notice of appeal. Fla. R.App. P. 9.141(c)(6)(D). If petitioner qualifies for appointed counsel, the trial court shall appoint counsel to represent petitioner on appeal.
PETITION GRANTED.
DAVIS, CLARK, and ROWE, JJ., concur.
